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AO 440 (Rev. 06/ 12) Summons in a Civil Action

                                       UNITED STATES DISTRICT COURT
                                       EASTERN DISTRICT OF NEW YORK

CANON MEDICAL SYSTEMS USA, INC.                            )
                                                           )
                               Plaintiff,                  )
                     V.                                    )
PARKHILL IMAGING, LLC D/B/A                                )
PARKHILL IMAGING ADDISON;                                  )     Civil Action No. :
PARKHILL IMAGING CLEARFORK,                                )     2:24-cv-01791-JMA-ARL
LLC, MICHAEL J. BIAVATI, ANTHONY                           )
RIELA, GLENR. WYANT, STAN DAVIS                            )
a/k/a STANLEY L. DAVIS; JOHN AND JANE                      )
DOES 1-12, and XYZ COMPANIES 1-5                           )
                                                           )
                               Defendants.                 )

                                           SUMMONS IN A CIVIL ACTION

To:       Parkhill Imaging, LLC d/b/a Parkhill Imaging Addison, 17051 Dallas Pkwy, Addison, TX 75001
          Parkhill Imaging Clea1fork, LLC, 5668 Edwards Ranch Rd., #100, Ft. Wo1th, TX 76109
          Michael J. Biavati, 13230 Cedar Lane, Faimers Branch, Texas 75234
          Anthony Riela, 9505 Freepo1t Drive, Denton, TX 76207
          Glen R. Wyant, 4600 Ross Ave #280, Dallas, TX 75204
          Stanley L. Davis, 2145 Po1tofino Drive, Rockwall, TX 75032

          A lawsuit has been filed against you.

        Within 21 days after service of this summons on you (not counting the day you received it) -
or 60 days if you are the United States or a United States agency, or an officer or employee of the
United States desciibed in Fed. R. Civ. P. 12 (a)(2) or (3) - you must serve on the plaintiff an answer
to the attached complaint or a motion under Rule 12 of the Federal Rules of Civil procedure. The
answer or motion must be served on the plaintiff or plaintiffs attorney, whose name and address ai·e:

                                         CODISPOTI & ASSOCIATES, P.C.
                                            Bnmo F. Codispoti, Esquire
                                             81 Comt Street, 5th Floor
                                               Brooklyn, NY 11201
                                                  212-962-6525

      If you fail to respond, judgment by default will be entered against you for the relief
demanded in the complaint. You also must file your answer or motion with the comt.

                                                                  BRENNA B. MAHONEY
                                                                  CLERK OF COURT

Date:     3/13/2024
                                                                   Signature of Clerk ofDeputy Clerk
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Civil Action No. 2:24-cv-01791-JMA-ARL

                                      PROOF OF SERVICE
      (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

      This summons for (name of individual and title, if any) ___________________________
________________________ was received by me on (date) ________________________.

   I personally served the summons on the individual at (place) _______________________
_________________________________________on (date) ________________________; or

   I left the summons at the individual’s residence or usual place of abode with (name) _____
____________________________________________________________, a person of suitable
age and discretion who resides there, on (date) ________________________, and mailed a copy
to the individual’s last known address; or

   I served the summons on (name of individual) __________________________________,
who is designated by law to accept service of process on behalf of (name of organization) _____
______________________________________________________________________ on (date)
________________________; or
   I returned the summons unexecuted because _________________________________; or
   Other (specify):




My fees are $__________ for travel and $__________ for services, for a total of $__________.

I declare under penalty of perjury that this information is true.




Date: ______________________                             _______________________________________
                                                                     Server’s signature

                                                         _______________________________________
                                                                     Printed name and title


                                                         _______________________________________
                                                                     Server’s address

Additional information regarding attempted service, etc:
